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                EXHIBIT C
                Case 3:18-cv-02338-E Document 1-3 Filed 09/04/18                                    Page 2 of 23 PageID 15
   GQUNTY pf.

                               T)ALLAS COUNTY CIVIL DiSTRICT COUR'T COVER SHI:ET
                %                                          DC-18-09810
                STYLEll CAROLYN CARPENTER                                           V. BOSTON SCIENTIFIC CORPORATION

`fhis Civil Cover Sheet tnust be cotnpleted, tiled and served with every petition. The information should be the best available at the
time of fling, understanding that the infonnation may change before trial. This infotmation does not cotistitute a discovery reauest,
res,ponse, or supplementation, and is not admissible at trial. Check (4 ) all applicable boxes.


Plaintiff(s)                                                                   Defendant(s) (list separately)
] Pro Se _
Address                                                                        Boston Scientific Corporation

"1-elephone/Fax
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/I Attarney toi         ff
State 13ar No. Ro~ert t,Kleinman, 24055786
Address 404 bV2ST7t11-AUSTtt1;'fX; 78701                                  —

Telephone/Fax 572=299=5329             ~
E-mail robertC~Collfril-oYtSar1'SECoTRfSet.Uaf11



                    PARTIES MUST CHECK ONE CASE TYPE ANI) MAY CHECK ONE SUI3-TOPIC
   Administrative Appeal                                        Terntination                           I             I Partition
   Bill of Review                                          ❑ Other Gmployment                                            Quite'1'itle
   Certiorari                                       ❑ Foreclosure                                                        Trespass/Try Title
   Code Violations                                              R 736                                                    Other Property
   Condemnation                                            ❑ Other than R 736                                   Prejudgment Remedy
   Construction                                       Foreign Judgment                                          Seizure/Forfeiture
   Construction                                       Insurance                                                 Tax
 ✓ Debt/Contract                                      Mass Tort/MDL/Rule 11                                              "I'ax flppraisal
   Defamation                                                   Asbestos                                                   fax Delinqucncy
 ✓ Other Conimercial Dispute                                    F3aycol                                                  Tax Land Bank
              AntitrusUUnfair eotnp                             Breast lmplant                                            `I"ax Personal
              Consumer/DTPA                                     Firestone                                                 Tax Real
              Franchise                                         Phen-Fen                                        Workers Conip
          ✓ Fraud/Misrep                                        Silica                                          Other
              Intellectual Property                        ti Other Multi-Pa.rty
              Non-Competes                          ❑ Motor Vehicle Accident                                       AUDITIONAL SUB-TOPICS
              Partnership                                       Other Personal lnjury                                  Attachment
              Securities/Stock                                  Assault/[3attery                                       )3i11 of Discovery         ;
              Tortuous lnterf'erence                        ✓ Produet                                                  Class Action               !
                    Other Comrnercial                               Premises                                              Declatratory ludgmcnt   ~
 ❑    Discipline                                                    Other I'ersonal In.jur}°                              Garnishment
 ❑    Discovery                                          Narne C:tiange                                                   Interpleader
                    Rule 202 Depositions                 Post-Judgrnent                                                   License
                    Commissions                          1'rofessional L.iability                                         Mandatnus               i
                    Subpoena                                        Acc.ounting                                           Receiver                ~
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                    Other Discovery                                 Med/Mal                                               Severance
 ❑    Gmplovment                                                    Other Prof. Liab.                                    T12O(tnjunction
             Discrimination                         ❑ Property                                                       0'rurTiovcr
             Retaliation
          H

                                    DISCOVERY LEVEL                           Level t                Leve12         ✓ Level 3
                                                    Local Rule 1.08 Certific:ation (Must be completed atid signed")
  'fhis case is not subject to transfer pursuant to Local Rule 1.07, or
  This case is related to anotlicr case filed or disposed of in Dallas Countv:
        Court: 95th Jud. Dist. Court Style: SALAZAR v. BOSTON SCIEM(IFIC CORPORATION Case No. DC 12-14349                 ~!
                                                                                                                          FILED
                                                                                                              DALLAS COUNTY
        Case 3:18-cv-02338-E Document 1-3 Filed 09/04/18                     Page 3 of 23 PageID 16          7/27/2018 12:41 PM
                                                                                                                 FELICIA PITRE
             ,        +                                                                                        DISTRICT CLERK

                                                                                                                 Alicia Mata
                                                                     DC-18-09810
        CAROLYN CARPENTER,                            § ' Cause No.
                                                      §
    -                Plaintiff,                       §
                                                      § IN THE DISTRICT COURT
        V.                                            §
                                                      §
        BOSTON SCIENTIFIC                             § _TH JUDICIAL DISTRICT
        CORPORATION,                                  §
                                                      §
                     Defendant.                       § DALLAS COUNTY, TEXAS
;
                                                      §


                          PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND

        TO THE HONORABLE JUDGE OF SAID COURT:

                 COMES NOW, Plaintiff Carolyn Carpenter and files her Original Petition complaining of

        Defendant Boston Scientific Corporation, and for cause of action, would respectfully show the

        Court as follows:

                                              DISCOVERY LEVEL

        1.       Plaintiffs intend that discovery be conducted under Level 3 pursuant to Rule 190.4 of the

        Texas Rules of Civil Procedure.

                                            PARTIES AND SERVICE

        2.       Plaintiff Carolyn Carpenter is an individual and resident of Richardson, Dallas County,

        Texas.

        3.       Defendant Boston Scientific Corporation ("Defendant Boston Scientific") is a Delaware

        corporation with its principal place of business at One Boston Scientific Place, Natick, Massachusetts

        01760-1537. Defendant Boston Scientific may be served with process by serving its registered agent,

        Corporation Service Company D B A+, at 211 East 7cn Street, Suite 620, Austin, Texas 78701.

                                                      VENUE




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4.      Pursuant to Section 15.002(a)(1) and (2) of the Texas Civil Practice and Remedies Code,

venue is proper in Dallas County, Texas because this is the county in which all or a substantial part

of the events giving rise to this claim occurred.1

                                NO FEDERAL CLAIMS PLEADED

5.      Plaintiff's claims in this action are brought solely under state law. Plaintiff does not herein

bring, assert, or allege, either expressly or impliedly, any causes of action arising under any federal

law, statute, regulation, or provision. Thus, there is no federal jurisdiction in this action on the basis

of a federal question under 28 U.S.C. § 1331.

                                  ALTERNATIVE ALLEGATIONS

6.      To the extent any allegation in the FACTS or CAUSES OF ACTION sections that follow are

inconsistent with any other allegation, such inconsistent allegations are pleaded in the alternative

pursuant to Texas Rule of Civil Procedure 48. TEx. R. Civ. P. 48; see Horizon Offshore Contractors,

Inc. v. Aon Risk Servs., 283 S.W.3d 53, 59 (Tex.App.—Houston [14cn Dist.] 2009, pet, denied) ("[A]

a party may assert inconsistent facts or remedies simultaneously against different defendants, settle

with one defendant, and still recover judgment against the other defendant even though the facts or

remedies alleged against the second defendant are inconsistent with the facts or remedies alleged

against the settling defendant.").

                                                 FACTS

     TRANSVAGINAL MESH PRODUCTS SOLD BY DEFENDANT BOSTON SCIENTIFIC

7.      At all times relevant herein, Defendant Boston Scientific was engaged in the business of

placing medical devices into the stream of commerce by designing, manufacturing, marketing,

packaging, labeling, and selling such devices, including the Advantage Fit Transvaginal Mid-

1 A number of similar product-based personal injury claims relating to vaginal mesh products have

been pending or resolved before the 95`h Judicial District Court in Dallas County, including cases
involving this Defendant (e.g. Salazar v. Boston Scientific Corp., No. DC-12-14349 (95th Dist. Ct.,
Dallas County, Tex. Sept. 2014)


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Urethral Sling System ("Advantage Fit"). The Advantage Fit is targeted at women who suffer from

pain, discomfort, and urinary incontinence. The Advantage Fit is represented by Defendant Boston

Scientific to correct and restore normal vaginal structure by implantation of polypropylene mesh in

the vaginal wall tethered in place by two arms that extend up through a woman's pelvis. They are

specifically promoted to physicians and patients as an innovative, minimally invasive procedure with

minimal local tissue reactions, minimal tissue trauma, and minimal pain while correcting urinary

incontinence.

8.     Prior to the implantation of the Advantage Fit at issue in this claim, Defendant Boston

Scientific sought and obtained Food and Drug Administration ("FDA") clearance to market the

Advantage Fit under Section 510(k) of the Medical Device Amendment to the Food, Drug and

Cosmetics Act. Section 510(k) allows marketing of inedical devices if the device is deemed

substantially equivalent to other legally marketed predicate devices marketed prior to May 28, 1976.

No formal review for safety or efficacy is required.

9.      Despite claims that the monofilament polypropylene mesh in the Advantage Fit is inert, the

scientific evidence shows that this material is biologically incompatible with human tissue and

promotes an immune response. This immune response promotes degradation of the mesh material

and can contribute to the formation of severe adverse reactions to the mesh.

10.     The Advantage Fit has been and continues to be marketed to the medical community and to

patients as safe, effective, and reliable medical devices that can be implanted by safe, effective, and

minimally invasive surgical techniques.

11.     Defendant Boston Scientific marketed and sold the Advantage Fit through carefully planned,

multifaceted marketing campaigns and strategies. These campaigns and strategies include, but are not
                                             ~
limited to, aggressive marketing and the provision of valuable cash and non-cash benefits to

healthcare providers. Defendant Boston Scientific also utilized documents, patient brochures, and



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websites, offering exaggerated and misleading expectations as to the safety, utility, and efficacy of

the Advantage Fit and its other transvaginal mesh products.

12.    Contrary to the representations and marketing of Defendant Boston Scientific, the Advantage

Fit has hig h failure, in~ur
                        J Y,and comPlication rates, fails to Perform as intended,requires fre quent and

often debilitating revision surgeries, and has caused severe and irreversible injuries, conditions, and

damage to a significant number of women, including Plaintiff Carpenter. The defects stem from

many issues, including:

       a.      the use of polypropylene material in the Advantage Fit and the immune reaction that

               results;

       b.      the design of the Advantage Fit to be inserted transvaginally into an area of the body

               with high levels of pathogens that adhere to the mesh, which can cause immune

               reactions and subsequent tissue breakdown;

        C.     the contraction and/or shrinkage of the mesh and surrounding scar tissue;

        d.     biomechanical issues with the design of the mesh that create strong amounts of

                friction between the mesh and the underlying tissue that subsequently cause that

                tissue to degrade and the device to migrate into organs and surrounding structures;
                                                                        ~
        e.      the use and design of anchors in the Advantage Fit that when placed correctly are

                likely to pass through and injure major nerve routes in the pelvic region;

        f.     degradation of the mesh itself over time which causes the internal tissue to degrade;

        g.      the welding of the mesh itself during production, which creates a toxic substance that

                contributes to the degradation of the mesh and host tissue; and

        h.      the design of the trocars (devices used to insert the Advantage Fit into the vagina)

                requires tissue penetration in nerve-rich environments, which results frequently in the

                destruction of nerve endings.



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     13.     Upon information and belief, Defendant Boston Scientific has consistently underreported and

     withheld information about the propensity of its Advantage Fit to fail and to cause injury and

     complications and has misrepresented the efficacy and safety of its transvaginal mesh products,

     including the Advantage Fit, through various means and media, actively and intentionally misleading

     the public.

     14.     Despite the chronic underreporting of adverse events associated with the Advantage Fit,

-'   enough complaints were recorded for the Food and Drug Administration ("FDA") to issue a public

     health notification regarding the dangers of these devices.

     15.     On October 20, 2008, the FDA issued a Public Health Notification that described over a

     thousand (1,000) complaints (otherwise known as "adverse events") that had been reported over a

     three-year period relating to the Advantage Fit and other similar products. Although the FDA notice

     did not identify the transvaginal mesh manufacturers by name, a review of the FDA's MAUDE

     database indicates that Defendant Boston Scientific is one of the manufacturers of the products that

     are the subject of the notification.

     16.     On July 13, 2011, the FDA issued a Safety Communication entitled, "UPDATE on Serious

     Complications Associated with Transvaginal Placement of Surgical Mesh for Pelvic Organ

     Prolapse." Therein, the FDA advised that it had conducted an updated analysis of adverse events

     reported to the FDA and complications reported in the scientific literature and concluded that

     surgical mesh used in transvaginal repair of pelvic organ prolapse was an area of "continuing

     serious concern." (emphasis added) The FDA concluded that serious complications associated with

     surgical mesh for transvaginal repair of pelvic organ prolapse were "not rare." These serious

     complications include, but are not limited to, neuromuscular problems, vaginal scarring/shrinkage,

     and emotional problems. Many of the serious complications required medical and surgical treatment

     and hospitalization. The FDA concluded that it was not clear that transvaginal repair of pelvic organ

     prolapse and stress urinary incontinence with mesh kits was more effective than traditional non-mesh

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repair of these conditions. The FDA conducted a systematic review of the published scientific

literature from 1996 to 2011 and concluded that transvaginal pelvic organ prolapse repair with mesh

"does not improve symptomatic results or quality of life over traditional non mesh repair." In the July

13, 2011 Safety Communication, the FDA concluded that "a mesh procedure may put the patient at

risk for requiring additional surgery or for the development new complications. Removal of the mesh

due to mesh complications may involve multiple surgeries and significantly impair the patient's

quality of life. Complete removal of inesh may not be possible." The information contained in the

FDA's Public Health Notification of October 2008 and the FDA Safety Communication of July 13,

2011 was known or knowable to Defendants and was not disclosed in any manner.

17.     Defendant Boston Scientific has further known the following:

        a.      that some of the predicate devices for the Advantage Fit had high failure and

                complication rates, resulting in the recall of some of these predicate devices;

        b.      that there were and are significant differences between the Advantage Fit and some or

                all of the predicate devices, rendering them unsuitable for designation as predicate

                devices;

        C.      that these significant differences render the disclosures to the FDA incomplete and

                misleading; and

        d.      that its transvaginal mesh products, including thee Advantage Fit, were and are

                causing numerous patients severe injuries and complications.

18.     Defendant Boston Scientific suppressed this information and failed to accurately and

completely disseminate or share this and other critical infonnation with others, including Plaintiff

Carpenter. As a result, Defendant Boston Scientific actively and intentionally misled and continues to

mislead the public into believing that its transvaginal mesh products, including the Advantage Fit,

and the procedures for implantation were and are safe and effective.



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19.     Defendant Boston Scientific failed to perform or rely on proper and adequate testing and

research in order to determine and evaluate the risks and benefits of the Advantage Fit.

20.     Defendant Boston Scientific failed to design and establish a safe, effective procedure for

removal of the Advantage Fit; thus, in the event of a failure, injury, or complications, it is impossible

to easily and safely remove the Advantage Fit or parts thereof.

21.     Feasible and suitable alternative designs as well as suitable alternative procedures and

instruments for repair of pelvic organ prolapse and stress urinary incontinence have existed at all

times relevant to this matter.

22.     The Advantage Fit was at all times utilized and implanted in a manner foreseeable to

Defendant Boston Scientific, as they generated the instructions for use, created the procedures for

implanting the devices, and trained the implanting physicians.

23.     Defendant Boston Scientific provided incomplete, insufficient, and misleading training and

information to physicians to increase the number of physicians utilizing the Advantage Fit, and thus

increase the sales of these products.

24.     The Advantage Fit implanted into Plaintiff Carpenter was in the same or substantially similar

condition as when it left the possession of Defendant Boston Scientific, as well as being in the

condition directed by and expected by this Defendant.

25.     Plaintiff Carpenter and her physicians foreseeably used and implanted the Advantage Fit, and

did not misuse or alter these products in an unforeseeable manner.

26.     The injuries, conditions, and complications suffered by women who have been implanted

with the Advantage Fit include, but are not limited to, mesh erosion, mesh contraction, infection,

fistula, inflammation, scar tissue, organ perforation, dyspareunia (pain during sexual intercourse),

blood loss, acute and chronic nerve damage and pain, pudendal nerve damage, pelvic floor damage,

chronic pelvic pain, urinary and fecal incontinence, recurrent and chronic infections, and prolapse of

organs. In many cases, these women have been forced to undergo intensive medical treatment,

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    including, but not limited to, the use of pain control and other medications, injections into various

    areas of the pelvis, spine, and the vagina, and surgeries to remove portions of the female genitalia, to

    locate and remove mesh, and to attempt to repair pelvic organs, tissue, and nerve damage.

    27.     The medical and scientific literature studying the effects of polypropylene pelvic mesh (like

    the material used in the Advantage Fit) have examined each of these injuries, conditions, and

    complications and determined that they are in fact casually related to the mesh itself and do not often

    implicate errors related to the implantation of the devices.

    28.     Defendant Boston Scientific knew and had reason to know that the Advantage Fit could and
                                                                                                               i
    would cause severe and grievous personal injury to the users/recipients of the Advantage Fit, and that

    they were inherently dangerous in a manner that exceeded any purported, inaccurate, or otherwise

    downplayed warnings.

    29.     At all relevant times herein, Defendant Boston Scientific continued to prori-mote Advantage Fit

    as safe and effective even when no clinical trials had been done supporting long or short term

    efficacy.

    30.     At all relevant times herein, Defendant Boston Scientific failed to provide sufficient warnings

    and instructions that would have put Plaintiff Carpenter and the public on notice of the dangers and

    adverse effects caused by implantation of the Advantage Fit.

    31.     The Advantage Fit was defective as marketed due to inadequate warnings, instructions,

    labeling, and/or inadequate testing.

                                            Medical Care at Issue

    32.     On April 5, 2012, Plaintiff Carpenter underwent surgery during which she was implanted

    with the Advantage Fit at Texas Health Presbyterian Hospital Plano to treat her urinary incontinence,

    the use for which Defendant Boston Scientific marketed and sold these products.

    33.     As a result of the implantation of the Advantage Fit, on or about January 2017, Plaintiff

~   Carpenter underwent surgery to remove stones from her bladder in Dallas County, Texas.

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34.      As a result of the implantation of the Advantage Fit, on or about May 2017, Plaintiff

Carpenter underwent surgery to remove mesh which had eroded into her bladder in Dallas County,

Texas.

35.      As a result of the implantation of the Advantage Fit, on or about May 2018, Plaintiff

Carpenter underwent surgery to remove additional mesh which had eroded into her bladder and to
                                                       J

treat bladder lesions in Dallas County, Texas.

36.      As a result of the implantation of the Advantage Fit, Plaintiff Carpenter suffered and will

continue to suffer serious bodily injuries, including pain, discomfort, chronic infections which have

required extensive treatment, hospitalizations, bladder/mesh stones, additional surgery(ies),

continued incontinence, erosion of the Advantage Fit into her surrounding organs and tissues.

                                       CAUSES OF ACTION

                                              Negligence

37.      On the occasion in question, the injuries and damages sustained by Plaintiffs were '

proximately caused by the negligence of Defendant Boston Scientific, at the least, in failing to use

reasonable care in designing, manufacturing, marketing, labeling, packaging, and selling the

Advantage Fit.

38.      Each act or omission of negligence, acting separately or in combination, was a proximate

cause of the damages and injuries to Plaintiffs.

                                    Strict Liability, Design Defect

39.      Upon information and belief, Proxy Biomedical, Ltd., the manufacturer or the mesh material,

which manufactures the polypropylene mesh component of the Advantage Fit, is not subject to the

jurisdiction of this Court. Thus, pursuant to Chapter 82.003(a)(7)(B) of the Texas Civil Practice and

Remedies Code, Defendant Boston Scientific is not excused from liability for being a

nonmanufacturing seller.



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40.     At the time Plaintiff Carpenter was implanted with the Advantage Fit, Defendant Boston

Scientific was engaged in the business of selling these products and Proxy Biomedical, Ltd. was

engaged in the business of selling the polypropylene mesh component of these products.

41.     The Advantage Fit and its polypropylene mesh component were defectively designed when

sold.

42.     The Advantage Fit and its polypropylene mesh component were unreasonably dangerous,

taking into consideration the utility of these products and the risks involved in their use.

43.     The Advantage Fit and its polypropylene mesh component reached Plaintiff Carpenter and

her implanting physician without substantial change in the condition in which they were ;sold.

44.     The defective and unreasonably dangerous condition of the Advantage Fit and its

polypropylene mesh component was a proximate cause of the damages and injuries to Plaintiff

Carpenter.

45.     Thus, Defendant Boston Scientific is strictly liable to Plaintiff.

                                Strict Liability, Manufacturing Defect

46.     Upon information and belief, Proxy Biomedical, Ltd., which manufactures the polypropylene

mesh component of the Advantage Fit, is not subject to the jurisdiction of this Court. Thus, pursuant

to Chapter 82.003(a)(7)(B) of the Texas Civil Practice and Remedies Code, Defendant Boston

Scientific is not excused from liability for being a nonmanufacturing seller.

47.     The Advantage Fit and its polypropylene mesh component that was implanted in Plaintiff

Carpenter were unreasonably dangerous, not reasonably safe for their intended use, and were

defective as a inatter of law with respect to their manufacture.

48.     The defective and unreasonably dangerous condition of the Advantage Fit and its

polypropylene mesh component .was a proximate cause of the damages and injuries to Plaintiff

Carpenter.

49.     Thus, Defendant Boston Scientific is strictly liable to Plaintiff.

PLAINTIFF' S ORIGINAL PETITION AND 7URY DEMAND                                                 PAGE 10 OF 15
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                                   Strict Liability, Failure to Warn

50.    Upon infonnation and belief, Proxy Biomedical, Ltd., which manufactures the polypropylene

mesh component of the Advantage Fit, is not subject to the jurisdiction of this Court. Thus, pursuant

to Chapter 82.003(a)(7)(B) of the Texas Civil Practice and Remedies Code, Defendant Boston

Scientific is not excused froin liability for being a nonmanufacturing seller.

51.     Defendant Boston Scientific manufactured, sold, and/or distributed the Advantage Fit and its

polypropylene mesh component that were implanted in Plaintiff Carpenter.

52.     At all times mentioned herein, the Advantage Fit and its polypropylene mesh component

were dangerous and presented a substantial danger to patients who were implanted with them.

53.     The risks and dangers associated with the Advantage Fit and its polypropylene mesh

component were known or knowable to Proxy Biomedical, Ltd. and Defendant Boston Scientific at

the time of implantation in Plaintiff Carpenter, yet Proxy Biomedical, Ltd. and Defendant Boston

Scientific failed to provide warnings of such risks and dangers to Plaintiff Carpenter.

54.     Ordinary consumers would not have recognized the potential risks and dangers the

Advantage Fit and its polypropylene mesh component posed because its uses were specifically

promoted to improve the health of such patients while the nature and prevalence of such risks were

either downplayed or not provided to consumers and their physicians.

55.     The Advantage Fit and its polypropylene mesh component were used in a way reasonably

foreseeable to Proxy Biomedical, Ltd. and Defendant Boston Scientific by Plaintiff Carpenter,

particularly given the educational material or instructions given to physicians in regard to these

products.

56.     Proxy Biomedical, Ltd.'s and Defendant Boston Scientific's failure to adequately warn about

the risks, and dangers associated with the Advantage Fit was a proximate cause of the damages and

injuries to Plaintiff Carpenter.

57.     Thus, Defendant Boston Scientific is strictly liable to Plaintiff.

PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND                                             PAGE 1 1 OF 15
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                                      Breach of Implied Warranty

58.    Defendant Boston Scientific impliedly warranted that the Advantage Fit were merchantable

and were fit for the ordinary purpose for which they were intended.

59.    When the Advantage Fit was implanted in Plaintiff Carpenter to treat her medical conditions,

these products were being used for the ordinary purpose for which they were intended.

60.    Plaintiff Carpenter, individually and/or by and through her physicians, relied upon the

implied warranty of inerchantability of Defendant Boston Scientific in consenting to have the

Advantage Fit implanted in her.                              '

61.    Defendant Boston Scientific breached this implied warranty of inerchantability because the

Advantage Fit implanted in Plaintiff Carpenter was neither merchantable nor suited for its intended

use as warranted.

62.    These breaches of implied warranties resulted in the implantation of unreasonably dangerous

and defective products in Plaintiff Carpenter's body, placing Plaintiff Wife's health and safety in

jeopardy.

63.     The breaches of the aforementioned implied warranties were a proximate cause of the

damages and injuries to Plaintiffs.          ~
                                      Breach of Express Warranty

64.     Defendant Boston Scientific made assurances to the general public, hospitals, and health care

professionals that the Advantage Fit was safe and reasonably fit for its intended purpose.

65.     Plaintiff Carpenter and/or her healthcare providers chose the Advantage Fit based upon the

warranties and representations of Defendant Boston Scientific regarding the safety and fitness of the

Advantage Fit.

66.     Plaintiff Carpenter, individually, and/or by and through her physicians, reasonably relied

upon the express warranties and guarantees of Defendant Boston Scientific that the Advantage Fit

were safe, merchantable, and reasonably fit for their intended purpose.

PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND                                            PAGE 12 OF 15
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67.    Defendant Boston Scientific breached these express warranties because the Advantage Fit

implanted in Plaintiff Carpenter were unreasonably dangerous and defective and not as Defendant

Boston Scientific had represented.

68.    These breaches of express warranties resulted in the implantation of unreasonably dangerous

and defective products in Plaintiff Carpenter's body, placing Plaintiff Carpenter's health and safety

in jeopardy.

69.   The breaches of the aforementioned express warranties were a proximate cause of the
                              /
damages and injuries to Plaintiff.

                                        VICARIOUS LIABILITY

70.    Whenever in this Petition it is alleged that Defendants did or omitted to do any act, it is

meant that Defendants' officers, agents, servants, employees, or representatives did or omitted to do

such act and that at the time such act or omission was done, it was done with the full authorization or

ratification of Defendants or was done in the normal and routine course and scope of employment of

Defendants' officers, agents, servants, employees, or representatives.

                                        PLAINTIFF'S DAMAGES

71.     As a direct and proximate result of Defendants' improper acts and/or omissions described

herein, Plaintiff Carpenter was caused to suffer severe injuries and damages, including the following:

        a.     Physical pain and mental anguish sustained in the past;

       b.      Physical pain and mental anguish that, in reasonable probability, Plaintiff Carpenter

               will sustain in the future;

        C.     Loss of earning capacity that, in reasonable probability, Plaintiff Carpenter will

               sustain in the future;

        d.     Disfigurement sustained in the past;

        e.     Disfigurement that, in reasonable probability, Plaintiff Carpenter will sustain in the

               future;

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                                   ,



       f.       Physical impairment sustained in the past;

       g.       Physical impairment that, in reasonable probability, Plaintiff Carpenter will sustain in

                the future;

       h.       Medical care expenses incurred in the past; and

       i.       Medical care expenses that, in reasonable probability, Plaintiff Carpenter will incur in

                the future.

                                       EXEMPLARY DAMAGES

72.    Defendants' conduct described herein, when viewed objectively from the standpoint of

Defendants at the time of the occurrence, involved an extreme degree of risk, considering the

probability and magnitude of the potential harm to others. Moreover, Defendants had actual,

subjective awareness of the risk involved, but nevertheless proceeded with conscious indifference to

the rights, safety, and welfare of others. Thus, Plaintiffs seek exemplary damages in an amount to be

determined by the jury.

                                       JURY TRIAL DEMAND

73.     Plaintiffs hereby respectfully request a trial by jury and have already submitted the

appropriate fee.

                                               PRAYER

74.     WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Defendants be cited to

appear and answer herein, and that upon final hearing hereof, Plaintiffs have judgment against

Defendants for all damages to which they are entitled under the laws of the State of Texas, which

amount exceeds the minimum jurisdictional limits of this Court; for pre judgment interest in

accordance with law and/or at the highest legal rate; for interest on the judgment; for costs of suit; for'

exemplary damages; and for such other and further relief, either at law or in equity, to which

Plaintiffs have shown or will show themselves justly entitled.

                                         Respectfully Submitted,

PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND                                              PAGE 14 OF 15
Case 3:18-cv-02338-E Document 1-3 Filed 09/04/18             Page 17 of 23 PageID 30



                                  s/robert kleinman/
                                  Robert B. Kleinman, Tex. Bar No. 24055786
                                  Breanne V. Cope, Tex Bar No. 24076747
                                  John Cook, Tex Bar No. 24103739
                                  COMMON SENSE COUNSEL LLP
                                  404 West 7`h Street
                                  Austin, TX 78701
                                  Ph:     (512) 299-5329
                                  Fax:   (512) 628-3390
                                  robert(dtcommonscnsecounsel.com
                                  breanne(ii~conunonsensecounsel.com
                                  john ajcommonsensecounsel.com

                                  Michele S. Carino
                                  CARINO LAW
                                  154-59 23`d Avenue
                                  Whitestone, New York 11357
                                  mcarino(ci>,carinolaw.com

                                  ATTORNEYS FOR PLAINTIFFS




PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND '                               PAGE 15 OF 15
                                                                                                                           FILED
                                                                                                               DALLAS COUNTY
                                                                                                                8/9/2018 1:07 PM
                 Case 3:18-cv-02338-E Document 1-3 Filed 09/04/18             Page 18 of 23 PageID 31

    COMMON                                                                                                        FELICIA PITRE
                                                                                                               DISTRICT CLERK

                                                                                                    Marissa Pittman
     SENSECOUNSE                             L®l_l_.f¥‘
                                                                                           AUSTIN         SILICON VALLEY
                                                                                                      I



     UNCOMMON ATTORNEYS

      1-CIT ES




           August    7,   201 8



           Dallas County Clerk
           600 Commerce           Street
           Suite 103
           Dallas,   Texas 75202

           RE: Case No. DC- 1 8-098 1 0



           Dear Clerk,

           Please issue a citation for Case No. DC-18009810.




                 ML
           Sincerely,




       Robert Kleinman




ROBERT KLEINMAN
                                                               404 WEST 7TH   ST,   AUSTIN TX 78701        P 512 299 5329
ADMfTTED   IN TEXAS,    NEW YORK & CONNECTICUT
                                                               ROBERT@COMMONSENSECOUNSELCOM                F 512 628   3390
                      Case 3:18-cv-02338-E Document 1-3 Filed 09/04/18                         Page 19 of 23 PageID 32



FORM NO. 353-3 - CITATION                                                                                                                      ESERVE
THE STATE OF TEXAS                                                                                                                           CITATION
To:
        BOSTON SCIENTIFIC CORPORATION
                                                                                                                                            DC-18-09810
         SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY DBA +
        211 EAST 7TH STREET SUITE 620
        AUSTIN TX 78701
                                                                                                                                       CAROLYN CARPENTER
GREETINGS:                                                                                                                                      VS.
You have been sued. You may employ an attorney. If you or your attorney do not file a written                                     BOSTON SCIENTIFIC CORPORATION
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 68th District Court at 600                                           ISSUED THIS
Commerce Street, Ste. 101, Dallas, Texas 75202.                                                                                        13th day of August, 2018

Said Plaintiff being CAROLYN CARPENTER                                                                                                     FELICIA PITRE
                                                                                                                                         Clerk District Courts,
Filed in said Court 27th day of July, 2018 against                                                                                       Dallas County, Texas

BOSTON SCIENTIFIC CORPORATION
                                                                                                                                  By: COURTNEY RUTLEDGE, Deputy
For Suit, said suit being numbered DC-18-09810, the nature of which demand is as follows:                                         ________________________________
Suit on CNTR CNSMR COM DEBT etc. as shown on said petition, a copy of which accompanies this
citation. If this citation is not served, it shall be returned unexecuted.                                                              Attorney for Plaintiff
                                                                                                   muml'm’m’
                                                                                                                                       ROBERT B. KLEINMAN
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                 s\       ‘   Ml” w4                   COMMON SENSE COUNSEL LLP
Given under my hand and the Seal of said Court at office this 13th day of August, 2018.                    k
                                                                                                                                       404 WEST 7TH STREET
                                                                                                       g           a.                    AUSTIN TX 78701
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas              I    r
                                                                                                               5


                                                                                                                        N   {K
                                                                                                                                            512-299-5329
                                                                                                               w

                                WW9”
                                                                                                   f




                        By__________________________________, Deputy                                                             robert@commonsensecounsel.com
                             COURTNEY RUTLEDGE                                                                                   — DAL        s coun'l            '




                                                                                                                                        NOT PAID
                            Case 3:18-cv-02338-E Document 1-3 Filed 09/04/18                                      Page 20 of 23 PageID 33




                                                                       OFFICER'S RETURN
Case No. : DC-18-09810

Court No.68th District Court

Style: Carolyn Carpenter

vs.

Boston Scientific Corporation

Came to hand on the ________________day of __________________, 20_________, at __________o'clock_________.M. Executed at ______________________________,

within the County of __________________________ at ____________ o'clock _______ .M. on the ________________day of_________________________________________,

20_______________, by delivering to the within named

____________________________________________________________________________________________________

____________________________________________________________________________________________________________

each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was _________miles and my fees are as follows: To certify which witness my hand.



                                For serving Citation        $__________                    _______________________________________________

                                For mileage                  $__________                   of__________________County, ____________________

                                For Notary                   $__________                    By______________________________________Deputy

                                                               (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said__________________________before me this_______day of _____________________, 20_______,

to certify which witness my hand and seal of office.


                                                                                           _____________________________________________________

                                                                                           Notary Public___________________County_________________
                                                                                                                                                               FILED
                                                                                                                                                   DALLAS COUNTY
                                                                                                                                                   8/15/2018 2:41 PM
               Case 3:18-cv-02338-E Document 1-3 Filed
                                       AFFIDAVIT
                                       AFFIDAVIT
                                                       09/04/18
                                                  OF SERVICE
                                                 OF   SERVICE                                                      Page 21 of 23 PageID 34            FELICIA PITRE
                                                                                                                                                   DISTRICT CLERK
                                                                                                                                             Daniel Macias
         Texas
      of Texas
State of
State                                                                   County of Dallas
                                                                                  Dallas                                         68th Judicial
                                                                                                                                 68th Judicial District Court
                                                                                                                                               District Court


             DC-1 8-09810
     Number: DG-18-09810
Case Number:

Plaintiff:
Plaintiff:

Carolyn Carpenter
        Carpenter

VS.
vs.


Defendant:
Defendant:
Boston Scientific
       Scientific Corporation


For:
For:
         Sense Counsel,
Common Sense    Counsel, LLP
1112 Rhinette Ave.
1112          Ave.
Burlingame,
Burlingame, CA 94010
                94010

Received by
         by Austin Process
                    Process LLC on the 13th day of August,
                                                   August, 2018
                                                           2018 at 4:48
                                                                   4:48 pm to be served on Boston Scientific Corporation
by
by serving
   sewing its
           its registered agent,
                          agent, Corporation Service Company,
                                                       Company, 211
                                                                 211 E.
                                                                      E. 7th Street,
                                                                             Street, Ste.
                                                                                     Ste. 620, Austin, Travis
                                                                                          620, Austin,        County, TX
                                                                                                       Travis County,
78701.
78701.


I, Mike Techow,
l,      Techow, being duly
                      duly sworn,
                           sworn, depose and say that on the 14th day of August,
                                                                         August, 2018
                                                                                 2018 at 3:05 pm,
                                                                                              pm, i:                               l:




delivered to
          to REGISTERED AGENT by       by delivering a true copy of the Citation and Plaintiff's
                                                                                        Plaintiff's Original
                                                                                                    Original petition and Jury
Demand with
          with the date of service endorsed thereon by  by me,
                                                           me, to:
                                                                to: Vanessa Hernandez,
                                                                              Hernandez, Corporation
                                                                                            Corporation Service Company as
Authorized Agent
             Agent at
                    at the address
                           address of:
                                    of: 211
                                        211 E.
                                             E. 7th Street,
                                                    Street, Ste.
                                                             Ste. 620,
                                                                   620, Austin,          County, TX 78701
                                                                        Austin, Travis County,         78701 on behalf   of Boston
                                                                                                                  behalf of
Scientific
Scientific Corporation,
           Corporation. and informed said person of       the contents therein, in compliance with state statutes.
                                                              contents  therein, in compliance   with state statutes.




I certify
| certify that
          that I am over the age of
               |                 of 18,
                                    18, of sound mind,
                                                 mind, have no interest in
                                                                        in the above
                                                                               above action, The facts
                                                                                     action. The facts stated in this affidavit are
                                                                                                       stated in
within my personal
          personal knowledge
                   knowledge and are true
                                     true and correct.
                                              correct.




      Iscnbed      Sworn to before me on the 14th day
       scribed and Sworn
                                                                                                      /—L  »-Mike Techow
                                                                                                            Mike Techow
                                                                                                            P301215, Exp.
                                                                                                            PSC-1215, Exp, 7/31/20
                                                                                                                           7/31/20
                                                                                                                                   ‘
                                                                                                                                        Q"?
     ■ Augus^2018 by^the affiant who is personally
/^known      me.                                                                                                           LLC
                                                                                                                   Process LLC
                                                                                                            Austin Process



     OTARY PUBLIC
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                                                                                                            Austin,    78701
                                                                                                            Austin, TX 78701
                                                                                                            (512)
                                                                                                            (51 2) 480-8071
                                                                                                                   480-8071

                        NICOLE M.
                               M. HYBNER
                                                                                                            Our Job Serial
                                                                                                                     Serial Number: MST-2018008028
                                                                                                                            Number: MST-2018008028
                     My Notary ID #129086987
                                  # 129086987
                                                                                                            Ref:
                                                                                                            Ref: Carolyn Carpenter
                                                                                                                          Carpenter
                       Expires August 9,2020
                       Expires August 9. 2020




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                                                                               Services‘ Inc. - Process Server‘s Toolbox V7 1e
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                    Case 3:18-cv-02338-E Document 1-3 Filed 09/04/18                       Page 22 of 23 PageID 35

                                                                                ®E I~~R
                                                                                  ~ E                                             ESERVE
FORM NO. 353-3 - CITATION                                                   BY -T.~ ¢ r'
THE STATE OF TEXAS                                                          Aust"' F'►-o~~~'
                                                                                        ce                                      CITATION
To:
        BOSTON SCIENTIFIC CORPORATION                                                                                          DC-18-09810
        SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY DBA +
        211 EAST 7TH STREET SUITE 620
        AUSTIN TX 78701                                                                                                  CAROLYN CARPENTER
                                                                                                                                 VS.
GREETINGS:
                                                                                                                    BOSTON SCIENTIFIC CORPORATION
You have been sued.. You may employ an attorney. If you or your attorney do not file a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be
                                                                                                                               ISSUED THIS
taken against you. Your answer should be addressed to the clerk of the 68th District Court at 600
                                                                                                                          13th day of August, 2018
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                              FELICIA PITRE
Said Plaintiff being CAROLYN CARPENTER
                                                                                                                            Clerk District Courts,
                                                                                                                            Dallas County, Texas
Filed in said Court 27th day of July, 2018 against

BOSTON SCIENTIFIC CORPORATION
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For Suit, said suit being numbered DC-18-09810, the nature of which demand is as follows:
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                                                                                                                          Attorney for Plaintiff
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                                                                                                                         ROBERT B. KLEINMAN
                                                                                          ~+~adsyll kl C,t %          COMMON SENSE COUNSEL LLP
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.           '
                                                                                        r~.b~•           J~.~;
                                                                                                                         404 WEST 7TH STREET
Given under my hand and the Seal of said Court at office this 13th day of August, 2018.
                                                                                                                           AUSTIN TX 78701
                                                                                                                                512-299-5329
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, Count , Texas               f~ •,     .
                                                                                                                .
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                                                                                            i~~t11111111~ aaa
                                                                                                                    robert@commonsensecounsel.com
                        By     ~                                     , Deputy
                              COURTNEY RUTLEDGE                                                                     - L3AL.L.AS f'rO U NTY
                                                                                                                                              ~-
                           Case 3:18-cv-02338-E Document 1-3 Filed 09/04/18                                           Page 23 of 23 PageID 36




                                                                           OFFICER' S RETURN
Case No. : DC-18-09810

Court No.68th District Court

Style: Carolyn Carpenter

vs.

Boston Scientific Corporation

Came to hand on the                        day of                           20             at               o'clock           .M. Executed at

within the County of                                    at                   o'clock            M. on the                     day of

20                     , by delivering to the within named




each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was                miles and my fees are as follows: To certify which witness my hand.



                                For serving Citation          $

                                For mileage                   $                                  of                      County,

                                 For Notary                    $                                 By                                             Deputy

                                                                   (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said                                     before me this          day of                             20

to certify which witness my hand and seal of office.




                                                                                                Notary Public
